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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

                                                  §
 DAVID L. BOYKIN,
                                                  §
                                                  §       CIVIL COMPLAINT
                Plaintiff,
                                                  §
 v.                                               §
                                                          CASE NO. 6:21-cv-00563-ADA-JCM
                                                  §
 GREEN MOUNTAIN ENERGY                            §
 COMPANY,                                         §
                                                  §
                Defendant.

  DEFENDANT GREEN MOUNTAIN ENERGY COMPANY’S MOTION TO DISMISS

       Defendant Green Mountain Energy Company moves to dismiss Plaintiff David L. Boykin’s

Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6).

                                       I.      Introduction

       Mr. Boykin brings one claim against Green Mountain Energy Company, alleging that it

violated the Telephone Consumer Protection Act (“TCPA”) by calling his cellular phone using a

particular piece of outdated equipment that Congress defined as an “automatic telephone dialing

system” (an “ATDS” or an “autodialer.”). Facebook, Inc. v. Duguid, 141 S. Ct. 1163, 1167 (2021).

Green Mountain did no such thing, and Plaintiff’s pleaded facts confirm as much.

       In passing the TCPA, Congress did not intend to ban all forms of commercial speech or to

ban all telephone calls using any form of technology. Instead, relevant to the Plaintiff’s Complaint,

Congress only prohibited making certain calls using an ATDS. As the Supreme Court recently

observed, the ATDS “revolutionized telemarketing by allowing companies to dial random or

sequential blocks of telephone numbers automatically. Congress found autodialer technology to

be uniquely harmful.” Id. (emphasis added). Earlier this year, the Supreme Court held (with eight

justices joining and one justice concurring) that “Congress’ definition of an autodialer [i.e. an
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ATDS] requires that in all cases, whether storing or producing numbers to be called, the equipment

in question must use a random or sequential number generator.” Id. at 1170.

       Mr. Boykin fails to allege that Green Mountain violated the TCPA because he does not

plead facts sufficient to demonstrate that it used an ATDS. Rather than allege that a machine

“randomly” or “sequentially” generated his number, which it did not, Mr. Boykin alleges just the

opposite: that Green Mountain specifically called a specific person multiple times, each time

asking for someone named “Sandy” to collect on a specific debt. Were the Court to reach that

point, the evidence would show that Mr. Boykin is “Sandy” as well as “Sharon.” However, the

Court does not need to reach the issue of Mr. Boykin’s charade, as there is no actionable claim.

Courts routinely dismiss TCPA claims, like here, where the messages at issue were directed to a

specific person. See Suttles v. Facebook, Inc., 461 F. Supp. 3d 479, 487 (W.D. Tex. 2020); Snow

v. Gen. Elec. Co., No. 5:18-CV-511-FL, 2019 WL 2500407, at *4 (E.D.N.C. June 14, 2019),

appeal dismissed, No. 19-1724, 2019 WL 7500455 (4th Cir. Dec. 30, 2019); Weisberg v. Stripe,

Inc., No. 16-CV-00584-JST, 2016 WL 3971296, at *3 (N.D. Cal. July 25, 2016). Because Mr.

Boykin fails to state a claim for violation of the TCPA, his Complaint should be dismissed.

                                        II.   Background

       Mr. Boykin makes the following straightforward allegations in his Complaint—none

provide any plausible basis for liability:

   •   In May 2021, Mr. Boykin received a telephone call on his cell phone from Green Mountain.

       Compl. ¶ 6

   •   In this call, Green Mountain informed Mr. Boykin that Green Mountain was trying to reach

       an individual named “Sandy” regarding a debt she allegedly owed. Id. ¶ 8.




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    •   A few days later, Mr. Boykin received a collection notice in the mail for an outstanding

        debt addressed to “Sandy Francois.” Id. ¶ 10.

    •   Mr. Boykin received several more calls from Green Mountain regarding the above-

        mentioned debt allegedly belonging to someone named Sandy. Id. ¶ 13.

        Mr. Boykin brings a single count 1 alleging that Green Mountain “violated the TCPA by

placing numerous phone calls to Plaintiff’s cellular telephone from May 2021 through the present

day, using an ATDS without his prior consent.” Id. ¶ 34.

                                        III.    Legal Standard

        Rule 12(b)(6) requires dismissal if a plaintiff fails “to state a claim upon which relief can

be granted.” Fed. R. Civ. P. 12(b)(6). Rule 8 of the Federal Rules of Civil Procedure, which

requires that a complaint contain “a short and plain statement of the claim showing that the pleader

is entitled to relief[,]” Fed. R. Civ. P. 8(a)(2), “demands more than an unadorned, the-defendant-

unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).

“To survive a [Rule 12(b)(6)] motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id. (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007)); see also R2 Invs. LDC v. Phillips, 401 F.3d 638, 642 (5th

Cir. 2005) (“[W]e will not strain to find inferences favorable to the plaintiffs and we will not accept

conclusory allegations, unwarranted deductions, or legal conclusions.”) (citation and quotation

marks omitted). A claim is “plausible” on its face only “when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the misconduct




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       Mr. Boykin’s count is numbered as “Count II” in his Complaint. See Compl. at 4.
However, the Complaint only contains a single count.
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alleged.” Iqbal, 556 U.S. at 678 (citation omitted). Where plaintiffs “have not nudged their claims

across the line from conceivable to plausible, their complaint must be dismissed.” Twombly, 550

U.S. at 570. Indeed, “[f]actual allegations must be enough to raise a right to relief above the

speculative level.” Id. at 555 (citation omitted).

                                           IV.     Argument

        Mr. Boykin’s claim must be dismissed because he does not allege that Green Mountain

used an ATDS that employed a random or sequential number generator; instead, he “has pleaded

the opposite of random or sequential dialing by alleging that he received targeted messages

directed to . . . [a] third part[y] . . . .” Suttles, 461 F. Supp. 3d at 487 (emphasis in original). Where,

as here, “a plaintiff’s own allegations suggest direct targeting that is inconsistent with the sort of

random or sequential number generation required for an ATDS, courts conclude that the

allegations are insufficient to state a claim for relief under the TCPA.” Weisberg, 2016 WL

3971296, at *3-4 (citation and quotation marks omitted) (granting motion to dismiss for failure to

allege use of an ATDS where plaintiff alleged that messages he received were “targeted to specific

phone numbers”).

        Numerous courts have dismissed TCPA complaints with similar allegations. For instance,

in Suttles, like here, the plaintiff alleged that the defendant used an ATDS to send the plaintiff

messages “that encouraged him and unknown third parties named ‘Hannah,’ ‘Abel,’ and ‘Sandra’

to log on to facebook.com or provided verification codes assigned to those unknown third parties.”

Id. at 481. The court held that the plaintiff “has pleaded the opposite of random or sequential

dialing by alleging that he received targeted messages directed to him and ‘third parties’ named

‘Hannah,’ ‘Abel,’ and ‘Sandra.’” Id. at 487 (emphases in original). Based on these allegations, the

court held that the plaintiff failed to state a TCPA claim, observing that “[a]llegations of directly


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targeting specific individuals weigh against an inference that an ATDS was used.” Id. (citing Snow,

2019 WL 2500407, at *4).

        Similarly, in Snow, the plaintiff alleged that she was receiving messages from the defendant

that were “clearly intended for another recipient.” 2019 WL 2500407, at *4. The court rejected

plaintiff’s argument that she was contacted with an ATDS “using a random or sequential number

generator,” stating that “the facts alleged suggest the opposite. Plaintiff alleges that the text

messages did not reach her randomly, but rather reached her because she was assigned a telephone

number previously assigned to an individual who received technical alerts as a part of a job

function.” Id. Accordingly, because the messages at issue were sent to “a targeted recipient,” the

plaintiff failed to allege the use of an ATDS, necessitating dismissal. Id.

        Like in Suttles and Snow, rather than alleging the use of a random or sequential number

generator, which he cannot, Mr. Boykin’s Complaint alleges targeted messages to a specific

person. Mr. Boykin’s Complaint alleges that Direct Energy called him multiple times, each time

asking to speak with someone named “Sandy” regarding her (or Mr. Boykin’s) debt. Compl. ¶¶ 8,

13-14. The fact these messages were targeted is further underscored by Mr. Boykin’s allegation

that he received a collection notice in the mail addressed to “Sandy Francois” (also Mr. Boykin),

seeking to collect on the very debt about which he was receiving calls. Id. ¶ 10. Because Mr.

Boykin fails to state facts that if taken as true would provide a plausible basis for relief (i.e. illegal

telemarketing), his claim must be dismissed.

                                          V.      Conclusion

        Based upon the foregoing, Defendant Green Mountain respectfully requests that the Court

dismiss Plaintiff David L. Boykin’s Complaint, with prejudice, and grant Green Mountain all other

relief to which it may show itself justly entitled.


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Date: August 16, 2021                                Respectfully submitted,

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                                                 ATTORNEYS FOR DEFENDANT
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                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on the 16th
day of August 2021 via CM/ECF on all counsel of record.

                                                     /s/ Ryan Goodland
                                                     Ryan Goodland




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